Case 2:13-cr-00032-WFN   ECF No. 136   filed 10/07/13   PageID.407 Page 1 of 6
Case 2:13-cr-00032-WFN   ECF No. 136   filed 10/07/13   PageID.408 Page 2 of 6
Case 2:13-cr-00032-WFN   ECF No. 136   filed 10/07/13   PageID.409 Page 3 of 6
Case 2:13-cr-00032-WFN   ECF No. 136   filed 10/07/13   PageID.410 Page 4 of 6
Case 2:13-cr-00032-WFN   ECF No. 136   filed 10/07/13   PageID.411 Page 5 of 6
Case 2:13-cr-00032-WFN   ECF No. 136   filed 10/07/13   PageID.412 Page 6 of 6
